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           16                      UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18
                   MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           19      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                  APPLE’S NOTICE OF MOTION AND
           20      a Delaware corporation,                       MOTION TO STRIKE PLAINTIFFS’
                                                                 UNTIMELY NOVEMBER 2022
           21                         Plaintiffs,                SUPPLEMENT TO APPLE
                                                                 INTERROGATORY NO. 33
           22            v.
                   APPLE INC.,                                   Date: February 6, 2023
           23
                   a California corporation,                     Time: 1:30pm
           24
                                      Defendant.
                                                                 Pre-Trial Conference: Mar. 13, 2023
           25
                                                                 Trial: Mar. 27, 2023
           26
           27
           28       APPLE’S NOTICE OF MOT. AND MOT. TO STRIKE PLAINTIFFS’ UNTIMELY NOVEMBER 2022
                    SUPPLEMENT TO APPLE’S INTERROGATORY NO. 33
Wilmer Cutler
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1080 Filed 12/19/22 Page 2 of 3 Page ID
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           28       APPLE’S NOTICE OF MOT. AND MOT. TO STRIKE PLAINTIFFS’ UNTIMELY NOVEMBER 2022
                    SUPPLEMENT TO APPLE’S INTERROGATORY NO. 33
Wilmer Cutler
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
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                 Case 8:20-cv-00048-JVS-JDE Document 1080 Filed 12/19/22 Page 3 of 3 Page ID
                                                 #:70281

             1     TO THE COURT, PLAINTIFFS, AND ALL COUNSEL OF RECORD
             2           PLEASE TAKE NOTICE that on February 6, 2023, or as soon thereafter as the
             3     matter may be heard, in Courtroom 10C, located at 411 West Fourth Street, Santa Ana,
             4     California, 92701, Defendant Apple Inc. (“Apple”) will, and hereby does, move under
             5     Federal Rules of Civil Procedure 26 and 37 to strike Plaintiffs’ November 23, 2022
             6     supplement to Apple Interrogatory No. 33.
             7           This motion is made following the conference of counsel pursuant to Local Rule
             8     7-3, which took place on December 1, 2022. It is supported by the accompanying
             9     Memorandum of Points and Authorities, the Declaration of Nora Passamaneck and
           10      attached Exhibits 1-13, a Proposed Order, and such other evidence or argument as may
           11      be presented at or before the hearing.
           12
           13      Dated:       December 19, 2022           Respectfully submitted,
           14                                               MARK D. SELWYN
           15                                               AMY K. WIGMORE
                                                            JOSHUA H. LERNER
           16                                               SARAH R. FRAZIER
           17                                               NORA Q.E. PASSAMANECK
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           23
                                                            By: Mark D. Selwyn
           24                                                   Mark D. Selwyn
           25
                                                            Attorneys for Defendant Apple Inc.
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           28       APPLE’S NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ UNTIMELY NOVEMBER 2022
                    SUPPLEMENT TO APPLE INTERROGATORY NO. 33
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                                                             1            CASE NO. 8:20-cv-00048-JVS (JDEX)
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